       Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 1 of 6



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                   Plaintiff

              -v-                                              17-CR-40-V

LAWRENCE RUSSELL,
a/k/a Mucho


                                   Defendant/Principal



       NOTICE OF MOTION AND MOTION FOR DECLARATION OF BAIL
               FORFEITURE AND TO FORFEIT BAIL BOND


       In accordance with Title 18, United States Code, Section 3146(d) and Rule 46(f)(1)

and (3)(A) of the Federal Rules of Criminal Procedure, the United States of America hereby

moves the Court for an order declaring that the bail posted by the defendant and the surety

Jackey Bullock be forfeited to the United States of America; that default judgment in the

amount of $20,000 be entered against the defendant Lawrence Russell and the surety Jackey

Bullock and any and all accrued interest on said appearance bonds be forfeited to the United

States of America and entered against the judgment of $20,000 and for such other relief as

may be proper. Said motion shall be heard before the Honorable Jeremiah J. McCarthy,

United States Magistrate Judge for the Western District of New York, at a time to be

determined by the Court.
Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 2 of 6



DATED: Buffalo, New York, January 26, 2018.


                                     JAMES P. KENNEDY, JR.
                                     United States Attorney


                              BY:    s/LAURA A. HIGGINS
                                     Assistant United States Attorney
                                     United States Attorney=s Office
                                     Western District of New York
                                     138 Delaware Avenue
                                     Buffalo, New York 14202
                                     (716) 843-5862
                                     Laura.Higgins@usdoj.gov




                                 2
       Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 3 of 6



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                    Plaintiff

              -v-                                              17-CR-40-V

LAWRENCE RUSSELL,
a/k/a Mucho


                                    Defendant/Principal



       AFFIDAVIT IN SUPPORT OF MOTION FOR DEFAULT JUDGMENT
                  AND TO FORFEIT APPEARANCE BOND


STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )


              LAURA A. HIGGINS, being duly sworn, deposes and states:


       1.     I am an Assistant United States Attorney for the Western District of New York

and am assigned to my office=s file concerning this action.



       2.     On or about February 15, 2017, the defendant, Lawrence Russell a/k/a

Mucho, was indicted and charged with a number of violations of Title 21, United States Code,

Section 841(a)(1) (possession with intent to distribute cocaine and cocaine base) and other

related charges.
       Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 4 of 6



       3.     During his arraignment held on February 28, 2017, defendant was incarcerated

on state charges. He was released in August 9, 2017 and a detention hearing was scheduled.



       4.     On August 14, 2017, a detention hearing was held. Defendant was released on

$20,000 appearance/signature bond.      Docket No. 35.      Defendant’s girlfriend, Jackey

Bullock presented herself as surety for a $20,000 appearance/signature bond. Both defendant

and Ms. Bullock signed the appearance bond. By signing the bond, the defendant and the

surety acknowledged that they were jointly and severally bound to pay to the United States

of America the sum of $20,000 in the event of non-appearance and non-compliance. The

Appearance Bond was filed on August 16, 2017.         Upon the appearance bond was the

following warning:

              Forfeiture of the Bond. The appearance bond may be forfeited if the
              defendant does not comply with the above agreement. The court may
              immediately order the amount of the bond surrendered to the United
              States, including the security for the bond, if the defendant does not
              comply with the agreement. At the request of the United States, the
              court may order a judgment of forfeiture against the defendant and each
              surety for the entire amount of the bond, including interest and costs.
              See Exhibit A.


       5.     During the same appearance, the defendant signed the acknowledgment of the

Order Setting Conditions of Release. Among the conditions of release ordered defendant to

appear at all proceedings as required to restrict travel to the Western District of New York

(WDNY); and remain at a verifiable address approved by Pretrial Services and abide by

condition of New York State parole. The Order Setting Conditions of Release was filed on

August 17, 2017. Docket No. 36, attached hereto as Exhibit B.




                                             2
       Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 5 of 6



       6.      On September 27, 2017, a violation hearing was held due to a Violation Report

of Defendant Under Pretrial Supervision having been submitted to the Court by the United

States Probation and Pretrial Services. A violation hearing was held and defendant was

permitted to remain on release with added condition: “zero tolerance for any future

violations” and a warning that his bail would be revoked if he committed additional

violations. Docket No. 44.



       7.      On December 1, 2017, a warrant for the arrest of defendant was issued by the

Honorable Jeremiah J. McCarthy, United States Magistrate Judge.



       8.      On the basis of the foregoing, the defendant LAWRENCE RUSSELL

breached the above-referenced conditions of his release. As of January 26, 2018, he remains

a fugitive from justice.



       WHEREFORE, pursuant to Title 18, United States Code, Section 3146(d) and Rule

46(f)(1) and (3)(A) of the Federal Rules of Criminal Procedure, the Government requests the

Court enter an order declaring the bail posted by the defendant LAWRENCE RUSSELL

a/k/a Mucho and the surety, Jackey Bullock, be forfeited to the United States of America;

that default judgment in the amount of $20,000 be entered against the defendant

LAWRENCE RUSSELL a/k/a Mucho and Jackey Bullock and any and all accrued interest

on said $20,000




                                             3
         Case 1:17-cr-00040-LJV-JJM Document 61 Filed 01/26/18 Page 6 of 6



appearance bond be forfeited to the United States of America and applied against the $20,000

judgment; and that the Court grant such other relief as may be proper.


         DATED: Buffalo, New York, January 26, 2018



                                            s/LAURA A. HIGGINS
                                            Assistant United States Attorney
                                            United States Attorney=s Office
                                            Western District of New York
                                            138 Delaware Avenue
                                            Buffalo, New York 14202
                                            716/843-5862
                                            Laura.Higgins@usdoj.gov


Subscribed and sworn to before me

this 26th day of January, 2018.

s/KAREN A. CHAMPOUX
COMMISSIONER OF DEEDS
In And For The City Of Buffalo, New York.
My Commission Expires Dec. 31, 2018.




                                              4
